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     MIDWAY IMPORTING, INC.
12
13                          UNITED STATES DISTRICT COURT
14                        CENTRAL DISTRICT OF CALIFORNIA
15
16   NICKY RIVERA, BALMORE                        Case No. 2:18-cv-01469-AB-RAO
     PRUDENCIO, AND MICHELLE
17   QUINTERO, individually on behalf of          Assigned to: Hon. Andre Birotte, Jr.
     themselves and all others similarly
18   situated, and John Does (1-100) on behalf    DEFENDANT MIDWAY
     of themselves and all others similarly       IMPORTING, INC.’S NOTICE OF
19   situated,                                    MOTION AND MOTION TO
                                                  DISMISS PLAINTIFFS’ FIRST
20                Plaintiffs,                     AMENDED COMPLAINT
21         vs.                                    [Filed concurrently with Memorandum
                                                  of Points and Authorities, Request for
22   MIDWAY IMPORTING, INC.,                      Judicial Notice, and [Proposed] Order]
23                Defendant.                      Date:       July 6, 2018
                                                  Time:       10:00 a.m.
24                                                Ctrm.:      7B
25                                                Complaint Filed: February 22, 2018
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                 DEFENDANT’S NOTICE OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                   CASE NO 2:18-CV-01469-AB-RAO
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 1         TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2         NOTICE IS HEREBY GIVEN that on July 6, 2018 at 10:00 a.m., or as soon
 3   thereafter as counsel may be heard, before the Honorable Andre Birotte, Jr., in
 4   Courtroom 7B, located at the First Street Courthouse, 350 West First Street,
 5   Los Angeles, CA 90012, Defendant Midway Importing, Inc., (“Midway”) will and
 6   hereby does move this Court pursuant to Federal Rules of Civil Procedure 8(a), 9(b),
 7   and 12(b)(1), (2), and (6) to dismiss Plaintiffs’ First Amended Complaint.
 8         The Motion to Dismiss is made on the following grounds:
 9         •      Plaintiffs have failed to establish standing under Article III of the U.S.
10   Constitution to state a claim for prospective injunctive relief because they have not
11   alleged facts demonstrating that they will be injured again in a similar way in the
12   future;
13         •      Plaintiffs have failed to establish standing under Article III to state any
14   claim respecting products that they did not purchase;
15         •      Plaintiffs have failed to establishing standing to sue under the laws of
16   states where they do not reside and did not purchase the product(s) at issue;
17         •      There is no personal jurisdiction over Midway for claims brought by non-
18   California plaintiffs, because the products purchased by non-California plaintiffs were
19   purchased outside of California, and because Midway is incorporated and has its
20   principal place of business in Texas;
21         •      Plaintiffs have failed to plead each of their fraud claims with the degree
22   of particularity required by Federal Rule of Civil Procedure 9(b) because they have
23   failed to plead sufficient facts to show Midway’s role in allegedly deceptive
24   advertising when Midway does not manufacture, label, or advertise the products at
25   issue; and have further failed to plead sufficient facts regarding their purchase of the
26   products, the falsity of the challenged representations, and any purported damages;
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                DEFENDANT’S NOTICE OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
                                  CASE NO 2:18-CV-01469-AB-RAO
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 1         •      Plaintiffs have failed to state a CLRA, FAL, UCL, or N.Y. GBL claim
 2   based on the “natural soap” advertising because they did not suffer any injury as a
 3   result of the advertising and because such advertising is not false or misleading as a
 4   matter of law;
 5         •      Plaintiffs have failed to state an express warranty claim because the
 6   ingredients in the products were disclosed in the ingredient list and because there is no
 7   privity between the parties;
 8         •      Plaintiffs have failed to state a claim under the Magnuson Moss Warranty
 9   act because they have failed to plead the required jurisdictional elements and because
10   the term “natural” is not a warranty under the Act;
11         •      Plaintiffs have failed to state an implied warranty claim because the
12   parties are not in privity and because Plaintiffs have not pled that the products were
13   not merchantable for use as soap.
14         In the alternative, Midway requests that the Court stay the action pursuant to the
15   primary jurisdiction doctrine because the FDA has announced that it will soon issue
16   critical guidance relating to “natural” labeling, which will be instructive for, if not
17   dispositive of, the singular issue in this action.
18         This Motion is made following the conference of counsel pursuant to L.R. 7-3
19   which took place on April 27, 2018.
20         This Motion is further based upon this Notice of Motion and Motion, the
21   accompanying Memorandum of Points and Authorities, Midway’s Request for
22   Judicial Notice in Support of this Motion, any reply memorandum submitted by
23   Midway, the pleadings and filings in this action, any additional matter of which the
24   Court may take judicial notice, and such further evidence or argument as may be
25   presented before or at the hearing on this Motion.
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                DEFENDANT’S NOTICE OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
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 1   Dated: May 7, 2018                  SIDLEY AUSTIN LLP

 2
                                         By: /s/ Rachael A. Rezabek
 3                                         Rachael A. Rezabek
 4                                         Attorneys for Defendant
                                           MIDWAY IMPORTING, INC.
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